                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


SECURITIES AND EXCHANGE
COMMISSION,
                                                                  8:23CV408
                       Plaintiff,
        v.
                                                                    ORDER
JON PATRICK KUBLER, AKSARBEN
EVOLUTION, L.L.C., AV BHILL, L.L.C.,
CFH TEXAS, L.L.C., GREEN SADDLE,
L.L.C., KUBLER CONSULTING, L.L.C.,
KUBLER FINANCIAL, INC., and
MIDWEST PEG, L.L.C.,
                       Defendants.



       This matter is before the Court on the parties’ Stipulated Motion to Amend
Preliminary Injunction Order (Filing No. 43). In particular, the parties jointly ask the Court
to amend certain provisions of the preliminary injunction order the Court entered on
September 28, 2023 (Filing No. 33). For good cause shown, the motion is granted, and
paragraph 7 of the preliminary injunction order is amended to read as follows:

             7. Defendants and relief defendants each shall submit, in writing, a sworn

   accounting to this Court and SEC, subject to the valid assertion of the right against self-

   incrimination, providing the following information:

             By December 8, 2023:

             A. The name of all financial institutions or brokerage firms, along with the

                mailing address, telephone number, account numbers and the name of the

                person or entity listed on the account, where defendants or relief defendants
   held accounts either directly in their name or which were held for defendants’

   and relief defendants’ beneficial interest from January 1, 2016, through the

   present, including, the current balance in each such account;

B. Each account, including safe deposit boxes, with any bank, financial

   institution, or brokerage firm, maintained in the names of any of the

   defendants and relief defendants, or the names of any subsidiary, affiliate, or

   agent, in which they have direct or indirect control or beneficial interest, and

   the current value and makeup of that account;

C. All investments, securities, funds, real estate, and other assets held in the

   names of any of the defendants or relief defendants, or in the names of any

   subsidiary, affiliate, or agent or under their direct or indirect control, stating

   a description, a value, and location of such assets;

On or before December 20, 2023:

D. All funds that the defendants and relief defendants received from investors,

   the uses of investors’ funds, and their current location from January 1, 2016,

   through the date of this Order;

E. The name of all persons or entities that invested funds with each of the

   defendants from January 1, 2016, through the date of this Order, the amount

   of funds, the date of each investment, the addresses, telephone numbers, and

   e-mail addresses of the investors; and the date, amount, and source of each

   repayment made to investors;

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           F. All investments defendants made with investors’ funds from January 1, 2016,

              through the date of this Order.

           G. Every transaction in which the ownership, direction, or control of any funds

              or other assets of any kind have been transferred, directly or indirectly,

              between or amongst any of the defendants or relief defendants since January

              1, 2016; and

           H. Every transaction exceeding $3,000 in value in which the ownership,

              direction, or control of any funds or other assets of any kind have been

              transferred, directly or indirectly, from any defendant or relief defendant to

              a non-party to this litigation since January 1, 2016.


       The preliminary injunction order remains unchanged and in full force and effect in
all other respects.

       IT IS SO ORDERED.

       Dated this 5th day of January 2024.


                                                    BY THE COURT:




                                                    Robert F. Rossiter, Jr.
                                                    Chief United States District Judge




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